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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 In the Matter of the
 Federal Bureau of Prisons’ Execution
 Protocol Cases
                                                           Case No. 19-mc-0145 (TSC)
 LEAD CASE: Roane, et al. v. Garland
 THIS DOCUMENT RELATES TO:
 ALL CASES


                                  JOINT STATUS REPORT

       The parties respectfully submit this joint status report pursuant to the Court’s minute order

dated September 8, 2021.

       1.      Plaintiffs in this case are death-sentenced federal prisoners who claim that the

Federal Bureau of Prisons’ 2019 Execution Protocol Addendum, as amended, violates the Eighth

Amendment of the Constitution.

       2.      On July 1, 2021, the Attorney General of the United States issued a memorandum

directing the Department of Justice’s Office of Legal Policy, under the supervision of the Deputy

Attorney General, to review the Department’s policies and procedures for federal executions,

including the 2019 Execution Protocol Addendum, the execution regulations, and relevant

provisions of the Justice Manual. The memorandum states that “[n]o federal executions will be

scheduled during the pendency of these reviews” and directs the Federal Bureau of Prisons “to

suspend the use of the Addendum pending” further review.

       3.      In light of these developments, the parties stipulated to a stay and administrative

closure of this action while the Department of Justice reviews its policies and procedures for

executions. ECF No. 433. The parties further stipulated that they would submit joint status reports

to this Court beginning six months after the Court’s order administratively closing this case and
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every ninety days thereafter during the pendency of the Department of Justice’s review of the

Federal Execution Protocol Addendum. Id. at 4. The parties stipulated that these reports “shall state

whether the review is still pending and whether there is an anticipated date as to the completion of

the review.” Id.

       4.      The Court subsequently adopted the stipulation, stayed proceedings, directed the

administrative closure of this case, and ordered the parties to submit joint status reports on the

schedule the parties proposed. Min. Order (Sept. 8, 2021).

       5.      In accordance with the Court’s September 8, 2021 order, the parties report that the

Department of Justice’s review of the policies and procedures for federal executions, including the

2019 Execution Protocol Addendum, is nearing completion and is expected to be completed before

the next status report, scheduled for March 3, 2025.

       6.      Following the completion of the Department of Justice’s review, the parties will

confer about next steps and file a joint status report.

 Respectfully submitted,                               Dated: December 2, 2024

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